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AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Western District of Arkansas
        UNITED STATES OF AMERICA                                          Judgment in a Criminal Case
                   v.                                                     (For Revocation of Probation or Supervised Release)


                                                                          Case No.         4:20CR40012-001
          CORD ROBERTSON GREEN
                                                                          USM No.          12707-509
                                                                                                       Alex Wynn
                                                                                                   Defendant’s Attorney
THE DEFENDANT:
    admitted guilt to violation of conditions           1, 2, 3, 4, 5, 6, 7, 8, 10, 11, 12, and 14 of the term of supervision.
    Was found in violation of condition(s) count(s)                                   after denial of guilt.
The defendant is adjudicated guilty of these violations:

  Violation Number           Nature of Violation                                                                      Violation Ended
         One                 Mandatory Condition # 3: Use of a Controlled Substance                                  November 28, 2022
         Two                 Mandatory Condition # 1: New Law Violation – Public Intoxication                        December 12, 2022
        Three                Mandatory Condition # 3: Use of a Controlled Substance                                    April 26, 2023
         Four                Mandatory Condition # 1: New Law Violation – Domestic Battery 3rd
                             Degree                                                                                        June 1, 2023
          Five               Mandatory Condition # 3: Use of a Controlled Substance                                       June 16, 2023
          Six                Mandatory Condition # 3: Use of a Controlled Substance                                      August 25, 2023
         Seven                                                                                                           October 10, 2023
                           Mandatory Condition # 3: Use of a Controlled Substance
       The defendant is sentenced as provided in pages 2 through 3          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The government withdrew alleged violations 9 and 13,                      the defendant is discharged as to such violations.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 7121                                                December 11, 2024
                                                                                              Date of Imposition of Judgment
Defendant’s Year of Birth:         1988
                                                                                                /s/ Susan O. Hickey
City and State of Defendant’s Residence:                                                            Signature of Judge
                   Texarkana, Texas
                                                                            Honorable Susan O. Hickey, Chief United States District Judge
                                                                                                 Name and Title of Judge


                                                                                                   December 18, 2024
                                                                                                           Date
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DEFENDANT:                 CORD ROBERTSON GREEN
CASE NUMBER:               4-20CR40012-001

                                                       ADDITIONAL VIOLATIONS


   Violation Number             Nature of Violation                                                                    Violation Ended
          Eight                 Mandatory Condition # 1: New Law Violation – Public Intoxication                      December 23, 2023
          Ten                   Mandatory Condition # 3: Use of a Controlled Substance                                February 20, 2024
         Eleven                 Mandatory Condition # 3: Use of a Controlled Substance                                  July 24, 2024
         Twelve                 Standard Condition # 3: Unauthorized travel from District                             November 3, 2024
        Fourteen                Special Condition # 3 & 5: Substance Use and Mental Health Treatment                  November 19, 2024
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AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment

                                                                                                 Judgment — Page   3       of   3
DEFENDANT:                CORD ROBERTSON GREEN
CASE NUMBER:              4:20CR40012-001


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

Fourteen (14) months imprisonment, with credit for time served in federal custody. There is no term of
supervised release to follow.


        The court makes the following recommendations to the Bureau of Prisons:

        To be housed in a medical facility.



        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
              at                                      a.m.           p.m.       on                                     .
              as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                              .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                        to

at                                                 with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                            By
                                                                                           DEPUTY UNITED STATES MARSHAL
